         Case 8:04-cr-00235-DKC Document 1586 Filed 11/29/12 Page 1 of 1



         UNITED STATES OF AMERICA UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

                                          Southern Division

UNITED STATES OF AMERICA,                                )
                                                         )
        Plaintiff,                                       )       Criminal No. 8:04-cr-00235
                                                         )
        v.                                               )       NOTICE OF APPEAL
                                                         )
LAVON DOBIE                                              )
                                                         )
        Defendant.                                       )


        Notice is hereby given that Lavon Dobie, defendant in the above named case, hereby appeals to

the United States Court of Appeals for the Fourth Circuit from the final judgment entered in this action

on the 20th day of November, 2012.




                                                         /s/________________________
                                                         Mirriam Z. Seddiq
                                                         3022 Javier Road, Room 105A
                                                         Fairfax, Virginia 22031
                                                         (703) 389-9830 mirriam.seddiq@gmail.com
